                                  Case 18-20331-LMI                    Doc 48     Filed 01/11/19        Page 1 of 3
 Fill in this information to identify the case:
 Debtor 1    Vivian Sanchez
             aka Vivian Sanchez Ramos

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the SOUTHERN District of FLORIDA

 Case number 18-20331-LMI


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                            12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: FEDERAL NATIONAL MORTGAGE                                     Court claim no. (if known): 4
ASSOCIATION ("FANNIE MAE”), A CORPORATION
ORGANIZED AND EXISTING UNDER THE LAWS OF THE
UNITED STATES OF AMERICA

Last 4 digits of any number you use to
identify the debtor’s account: 2855

Does this notice supplement a prior notice of postpetition
fees, expenses, and charges?
■ No
□ Yes. Date of the last notice:

 Part 1:       Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
 account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount,
 indicate that approval in parentheses after the date the amount was incurred.

            Description                                                                              Date Incurred                 Amount

 1          Late Charges                                                                                                    (1)      $0.00

 2          Non-sufficient funds (NSF) fees                                                                                 (2)      $0.00

 3          Attorneys fees                                                                                                  (3)      $0.00

 4          Filing fee and court costs                                                                                      (4)      $0.00

 5          Bankruptcy/Proof of claim fees                                                       09/19/2018 Plan Review; (5)       $650.00
                                                                                                11/14/2018 Proof of Claim

 6          Appraisal/Broker's Price opinion fees                                                                           (6)      $0.00

 7          Property inspection fees                                                                                        (7)      $0.00

 8          Tax Advances (non-escrow)                                                                                       (8)      $0.00

 9          Insurance advances (non-escrow)                                                                                 (9)      $0.00

 10         Property preservation expenses                                                                                  (10)     $0.00

 11         Other. Specify: POC Part 5 410A                                                            11/14/2018           (11)   $250.00

 12         Other. Specify:                                                                                                 (12)     $0.00

 13         Other. Specify:                                                                                                 (13)     $0.00

 14         Other. Specify:                                                                                                 (14)     $0.00

 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.

 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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                                        Case 18-20331-LMI               Doc 48         Filed 01/11/19             Page 2 of 3
Debtor 1 Vivian Sanchez                                                  Case number (if known) 18-20331-LMI
aka Vivian Sanchez Ramos
           Print Name          Middle Name      Last Name




 Part 2:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.

      □ I am the creditor
      ■ I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.

                           /s/ Ashlee Fogle
                         __________________________________________________                               Date      01/11/2019
                                                                                                                  _________________
                        Signature




  Print                     Ashlee Fogle
                        __________________________________________________                                Title   Bankruptcy Attorney
                        First Name                      Middle Name     Last Name


  Company               Robertson, Anschutz & Schneid, P.L.


  Address               6409 Congress Ave., Suite 100
                        Number               Street


                        Boca Raton, FL 33487
                        City                                                 State         ZIP Code

  Contact Phone         561-241-6901                                                                              afogle@rascrane.com
                                                                                                          Email _______________________




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                                            CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that on ____________________________________________________________,
                                                 January 11, 2019
I electronically filed the foregoing with the Clerk of Court by using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:

Robert Sanchez, Esq
355 W 49 St.
Hialeah, FL 33012
305.687.8008

Vivian Sanchez
aka Vivian Sanchez Ramos
3581 SW 117th Avenue
Unit 5-303
Miami, FL 33175-1779

Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130
                                                                           Robertson, Anschutz & Schneid, P.L.
                                                                           Authorized Agent for Secured Creditor
                                                                           6409 Congress Ave., Suite 100
                                                                           Boca Raton, FL 33487
                                                                           Telephone: 561-241-6901
                                                                           Facsimile: 561-997-6909

                                                                           By: _________________________
                                                                                 /s/Breanna Sawyer
                                                                                 Breanna Sawyer
                                                                                 bsawyer@rascrane.com




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